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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

CITY OF DALLAS,                 §
                                §
           Plaintiff,           §
                                §
v.                              §                    Civil Action No. 3:15-CV-2069-K
                                §
DELTA AIRLINES, INC., SOUTHWEST §
AIRLINES CO., VIRGIN AMERICA    §
INC., AMERICAN AIRLINES, INC.,  §
UNITED AIRLINES, INC., SEAPORT §
AIRLINES, INC., UNITED STATES   §
DEPARTMENT OF                   §
TRANSPORTATION, and THE         §
FEDERAL AVIATION                §
ADMINISTRATION,                 §
                                §
           Defendants.          §

                                            ORDER

      Before the Court is Plaintiff City of Dallas’s Motion to Dismiss the Federal

Agencies and Motion to Withdraw its Request for Leave to File a Supplemental

Complaint (Doc. No. 402). The Court GRANTS both motions. Plaintiff’s claims

against Defendants United States Department of Transportation and The Federal

Aviation Administration are hereby dismissed without prejudice. Each party will

bear its own attorneys’ fees and costs. Additionally, Plaintiff’s motion for leave to file




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a supplemental complaint (Doc. No. 312) is deemed withdrawn.

SO ORDERED.

Signed March 28th, 2018.

                                    ______________________________________
                                    ED KINKEADE
                                    UNITED STATES DISTRICT JUDGE




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